











Opinion issued May 13, 2004












In The
Court of Appeals
For The
First District of Texas




NO. 01-02-01167-CR
NO. 01-02-01168-CR




AARON HALL, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 228th District Court
Harris County, Texas
Trial Court Cause Nos. 920802 &amp; 915388




O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Two separate indictments charged appellant, Aaron Hall, with the felony
offenses of murder and conspiracy to deliver over 400 grams of cocaine.  In a single
trial, a jury convicted appellant of both offenses.  Appellant pleaded true to the single
enhancement paragraph in each indictment, and the jury assessed punishment at 65
years’ confinement for the murder, and 30 years’ confinement and a $5,000 fine for
the conspiracy.  In five issues under each appellate cause number, appellant contends
that (1) the evidence is legally and factually insufficient to support convictions for
murder and conspiracy, (2) the trial court abused its discretion by admitting certain
autopsy photographs that were more prejudicial than probative, (3) appellant was
selectively prosecuted, and (4) appellant’s punishment enhancement paragraph
alleged a prior juvenile adjudication that was not a final conviction.  We affirm.
Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant was employed as a valet at a nightclub that Christian Alvarado
frequented.  Appellant told Christian that he had friends who wanted to purchase two
kilos of cocaine.  Appellant and Christian agreed that, after appellant acquired
$32,000 cash money from his friends, appellant would count the money and proceed
alone to bring the money to Christian.  Christian would then count the money, and,
if there was $32,000, would give the cocaine to appellant.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On the day the cocaine transaction took place, appellant arrived at the agreed-upon location, a 24-Hour Fitness parking lot.  He was driving a white sedan.  Two
men followed appellant in a new convertible Jaguar.  Christian, who was in his truck
with Eric Alvarez, admonished appellant that he was supposed to come alone. 
Appellant responded that the men in the Jaguar just wanted to make sure that
everything went smoothly because the transaction involved a lot of money. To
demonstrate that they were each ready to make the exchange, Christian displayed the
cocaine to the men in the Jaguar, and the driver of the Jaguar showed a closed Crown
Royal bag that appeared to be full of cash money.  The men agreed to move the
transaction to the parking lot of a Taco Cabana Restaurant on Interstate 10.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At the Taco Cabana parking lot, appellant parked his sedan and took the Crown
Royal bag from the two men in the Jaguar.  Appellant took the bag to Eric, so that
Eric could count the money.  At appellant’s request, Christian handed a gym bag
containing two kilos of cocaine to appellant, who handed the gym bag to the men in
the Jaguar.  Suddenly, the Jaguar left the parking lot.  When Eric finally untied the
many knots on the Crown Royal bag and opened it, he discovered a shortage in the
money, and said, “We just got jacked!”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Eric confronted appellant with appellant’s previous assurances that the money
was all there, and asked him what was happening.  Appellant denied knowledge of
what was transpiring, said that he had a family and children, and asked if he could
leave.  Christian and Eric instructed appellant to call the men who had stolen the
cocaine, but the men did not answer appellant’s telephone calls.  Eric took appellant’s
keys from the ignition of appellant’s sedan and threw the keys into Christian’s truck. 
Christian and Eric told appellant to take them to the residence of the two men so that
they could recover their cocaine.  They reassured appellant that they would let him
go if he had nothing to do with the theft.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;As Christian drove his truck, Eric rode in the front passenger seat and appellant
rode in the back seat.  Eric used his mobile telephone to call “Smiley” for
“reinforcement,” and informed him that the cocaine had been stolen.  While Christian
drove, appellant fired his gun, striking Eric in the back of the head and causing him
to fall forward and drop his telephone.  Christian and appellant struggled over
appellant’s gun until Christian jumped out of the moving truck.  Appellant shot Eric
in the back of the head in close proximity to the first gunshot wound, and then fled
in the truck.  Appellant abandoned the truck, leaving a chunk of cocaine next to Eric’s
deceased body.  According to Houston Police Department Detective Brian Harris, the
cocaine left at the scene was intended as “somebody sending a message.” 
Appellant’s Testimony
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant admitted his participation in the cocaine transaction, but denied
knowledge of the underpayment of money by the two men in the Jaguar.  Appellant
claimed that Eric and Christian were the aggressors and took his car keys and forced
him into the truck at gunpoint.  Appellant testified that, while Christian drove the
truck, Christian threatened appellant with the firearm, and appellant grabbed
Christian’s arm, causing the gun to discharge three times during the struggle over the
gun.  Appellant claimed that he opened the driver’s side door of the truck during the
struggle, ejected Christian and the gun from the truck, and then fled in the truck. 
Appellant asserted that he received a gunshot wound to his hand during the struggle.
Sufficiency of the EvidenceIn his first and second points of error for each of his convictions, appellant
contends that the evidence is legally and factually insufficient to support his
convictions for murder and conspiracy to deliver cocaine.  In assessing legal
sufficiency, we determine whether, based on all of the record evidence, viewed in the
light most favorable to the verdict, a rational jury could have found the accused guilty
of all essential elements of the offense beyond a reasonable doubt.  Jackson v.
Virginia, 443 U.S. 307, 318-19, 99 S. Ct. 2781, 2788-89 (1979); Swearingen v. State,
101 S.W.3d 89, 95 (Tex. Crim. App. 2003).  In conducting our review of the legal
sufficiency of the evidence, we do not reevaluate the weight and credibility of the
evidence, but ensure only that the jury reached a rational decision.  Muniz v. State,
851 S.W.2d 238, 246 (Tex. Crim. App. 1993).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In reviewing factual sufficiency of the evidence, we consider all of the
evidence in a neutral light.  Swearingen, 101 S.W.3d at 97.  We must reverse a
conviction if the proof of guilt is so weak as to undermine confidence in the jury’s
determination, or if the proof of guilt, although adequate if taken alone, is greatly
outweighed by the proof of innocence.  Id.  Although we may disagree with the jury’s
verdict, we must defer to the jury’s determination of the weight and credibility of the
evidence and will reverse the jury’s verdict only to avoid manifest injustice.  Id. 
When reviewing the sufficiency of evidence, we remain mindful of the jury’s role as
the exclusive judge of the credibility of witnesses and the weight to give their
testimony.  Vasquez v. State, 67 S.W.3d 229, 236 (Tex. Crim. App. 2002). 
The Murder Conviction 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his first two points of error concerning his murder conviction, appellant
contends that the evidence is legally and factually insufficient to establish murder
because Eric was killed as a result of the gun’s discharges during the struggle with
Christian, and therefore, that the State failed to prove that appellant had the requisite
intent to commit murder.  Appellant further challenges the sufficiency of the evidence
by asserting that Christian is not worthy of belief because he lied multiple times to
the police,


 and the physical evidence is more consistent with appellant’s version of
the shooting.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A person commits the offense of murder if he intentionally or knowingly
causes the death of an individual, or if he intends to cause serious bodily injury and
commits an act clearly dangerous to human life that causes the death of an individual. 
Tex. Pen. Code Ann. § 19.02 (b)(1), (2 ) (Vernon 2003). Viewed in the light most
favorable to the verdict, a rational jury could have determined the following from the
evidence.  First, appellant was a knowing participant in the theft of the cocaine
because he falsely represented to Christian and Eric that he had counted the money
and that it was all there.  Second, appellant brought the men in the Jaguar to the
transaction to assist him in the theft of the cocaine.  Third, appellant went to the
transaction armed with a firearm.  Fourth, appellant sat in the back seat of Christian’s
truck to position himself better for the assault of the two men in the front seat.  Fifth,
appellant fired his gun, initially striking Eric, and, after the struggle over the gun and
Christian’s departure from the truck, appellant shot Eric again.  Sixth, Eric was shot
twice in the back of the head with wounds in close proximity to each other.  Seventh,
appellant left a piece of crack cocaine near Eric’s deceased body as a message to
other drug dealers about the killing.  We conclude that, from this evidence as viewed
in the light most favorable to the verdict, a rational jury could have determined that
appellant conspired with the men in the Jaguar to steal two kilos of cocaine from
Christian and Eric and that appellant murdered Eric following the theft.  See
Swearingen, 101 S.W.3d at 95. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In our neutral review of the evidence, appellant asserts that the physical
evidence is inconsistent with his guilt, that Christian is incredible as a matter of law
and that DNA evidence supports his innocence.  Contrary to appellant’s assertions,
the physical evidence is consistent with his guilt.  Because of the proximity and
trajectories of the gunshot wounds, as described by the medical examiner, a rational
jury could have found that the gunshots were not fired inadvertently during a
struggle.  Moreover, the jury could have reasonably found that the blood splatter and
blood transfer evidence in the truck established that when Eric was shot, he was
leaning across the front seat of the truck with his head near the open driver’s door. 
A rational jury could have also found that the blood-splatter expert’s testimony is
consistent with Christian’s testimony that he heard a gunshot after he jumped from
the truck and then saw a hand close the door of truck.  The chunk of cocaine left near
Eric’s body is further physical evidence that suggests that Eric was murdered for his
role in the drug transaction, rather than as a result of an inadvertent discharge. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant also claims that his tissue and DNA, which were recovered in
Christian’s truck, indicate that he is not guilty of murder because they confirm his
story that he was wounded in a struggle with Eric over the gun.  Because there is no
dispute that a struggle over the gun occurred, the tissue and DNA evidence are not
inconsistent with Christian’s testimony or with appellant’s guilt for murder. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s contention that he is more credible than Christian as a matter of
law is unfounded.  Both appellant and Christian had motives to lie and were
impeached when they testified.  Appellant’s credibility was impeached by evidence
that he never reported the incident to the police, never received medical treatment for
the alleged gunshot wound to his hand, never recovered his sedan from the parking
lot, was arrested while hiding in a closet at a friend’s house, and had previously been
convicted of the felony of forgery.  Christian was impeached with his untruthful
statements to police concerning the shooting and with evidence that he was given use
immunity for his testimony concerning his participation in the delivery of cocaine to
the men in the Jaguar.  Moreover, in exchange for his testimony in court, Christian
was given an agreed plea-bargained sentence of five years’ deferred adjudication for
an aggravated assault that was unrelated to the cocaine transactions involving
appellant.  The jury heard appellant’s claims that Eric took his keys from him, that he
appeared surprised when the Jaguar left the parking lot, and that Eric was
inadvertently killed during a struggle over Christian’s gun, but declined to believe
appellant.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We leave credibility assessments of the witnesses to the jury.  See Vasquez, 67
S.W.3d at 236.  We will not substantially intrude upon the jury’s role as the sole
judge of the weight and credibility of witness testimony.  Id.  Moreover, in addition
to the physical evidence discussed above, there was also the testimony from
“Smiley,” who heard the killer say over Eric’s cellular phone after Eric was shot,
“They tried to shaft me.  I killed one of them.  The other one got away.”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We conclude from our neutral examination of the evidence that the proof of
guilt is neither so obviously weak as to undermine confidence in the jury’s
determination nor so greatly outweighed by contrary proof as to indicate that a
manifest injustice has occurred.  See Swearingen, 101 S.W.3d at 97.  Accordingly, we
conclude that the evidence is factually sufficient to support appellant’s conviction for
murder.  We overrule appellant’s first two points of error concerning his murder
conviction.
The Conspiracy to Deliver Cocaine Conviction
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his first two points of error regarding his conspiracy conviction, appellant
contends that the evidence is legally and factually insufficient to establish his guilt
because conspiracy requires at least two guilty parties under Texas law, but he was
the only party charged with conspiracy here.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A person commits criminal conspiracy if, with intent that a felony be
committed, (1) he agrees with one or more persons that they or one or more of them
engage in conduct that would constitute the offense; and (2) he or one or more of
them performs an overt act in pursuance of the agreement.  Tex. Pen. Code Ann.
§&nbsp;15.02 (a) (Vernon 2003).  It is no defense to prosecution for criminal conspiracy
that one or more of the coconspirators has not been prosecuted or convicted, has been
convicted of a different offense, or is immune from prosecution.  Tex. Pen. Code
Ann. § 15.02 (c)(3) (Vernon 2003).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By his own admission, appellant agreed with Eric and Christian to sell two
kilos of cocaine for $32,000 to a buyer whom he had acquired.  The conspiracy
culminated in the exchange of the two kilos of cocaine for money, albeit an
insufficient amount of money.  Of those involved in the delivery of cocaine, only
appellant was charged with conspiracy.


  Although no other person was prosecuted,
that is no defense to appellant’s conspiracy conviction.  See Tex. Pen. Code Ann. §
15.02 (c)(3).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We conclude that the evidence is legally and factually sufficient to support
appellant’s conviction for conspiracy to deliver cocaine.  We overrule appellant’s first
two points of error concerning his conspiracy conviction.Autopsy Photographs
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his third point of error for both of his convictions, appellant contends that
the trial court erred by admitting into evidence three autopsy photographs over his
rule 403 objection because their prejudicial effect outweighed their probative value.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We review decisions by the trial court to admit photographs for abuse of
discretion.  Chamberlain v. State, 998 S.W.2d 230, 237 (Tex. Crim. App. 1999). 
Although relevant, evidence may be excluded if its probative value is substantially
outweighed by the danger of unfair prejudice.  Tex. R. Evid. 403.  A rule 403 analysis
by the trial court should include, but is not limited to, the following factors: (1) the
probative value of the evidence; (2) the potential of the evidence to impress the jury
in some irrational, but nevertheless indelible way; (3) the time that the proponent
needs to develop the evidence; and (4) the proponent’s need for the evidence.  Reese
v. State, 33 S.W.3d 238, 240-41 (Tex. Crim. App. 2000).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant does not challenge that the three photographs marked as State’s
Exhibits 55, 56, and 57, were probative, but challenges the trial court’s ruling under
the remaining Reese factors.  Appellant contends that the three autopsy photographs
had the potential to impress the jury in some irrational, but nevertheless indelible,
way because appellant did not “scalp” the victim or remove the victim’s brain from
his skull.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Autopsy photographs are generally admissible unless they depict mutilation of
the victim caused by the autopsy itself.  Salazar v. State, 38 S.W.3d 141, 151 (Tex.
Crim. App. 2001) (quoting Rojas v. State, 986 S.W.2d 241, 249 (Tex. Crim. App.
1998)).  When photographs depict internal organs that have been removed to portray
the extent of the injury to the organs themselves, the photographs are not considered
to be depictions of  mutilation of the victim by autopsy.  Salazar, 38 S.W.3d at 151-52.  Photographs of internal organs that have been removed from the victim’s body
during autopsy can be highly relevant to explain the manner of death.  Ripkowski v.
State, 61 S.W.3d 378, 392-93 (Tex. Crim. App. 2001).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;State’s Exhibits 55 and 56 are photographs that show the top and bottom of the
skull after the brain was removed.  The medical examiner testified that the
photographs show the two different gunshot entrance wounds and the resulting
fractures that radiated from the wounds.  State’s Exhibit 57 is a view of the top of the
brain.  According to the medical examiner, the photograph demonstrates the pathway
of the two different bullets through the brain, with metal rods in place to indicate the
direction of the travel of the projectiles.  Although the autopsy photographs are
graphic, they depict the damage caused internally to the skull and brain by appellant’s
gunshots.  See Salazar, 38 S.W.3d at 151-52.  These photographs were highly
relevant to explain the manner of death by documenting the entrance wounds, the
proximity of the wounds to each other, the trajectory of the bullets, and the resulting
fractures.  See Ripkowski, 61 S.W.3d at 392-93.  We conclude that the jury would not
have been prejudiced in some irrational, but nevertheless indelible way by viewing
autopsy photos of the deceased’s head under these circumstances.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant further contends that it took an undue amount of time to lay the
foundation for the admission of the three photographs and to develop the medical
examiner’s testimony concerning the photographs.  The State laid the foundation for
the three photographs concurrently with the foundation for other State’s Exhibits that
were admitted without objection.  Accordingly, it took no additional time to lay the
foundation for the three objected-to photographs.  The medical examiner’s testimony
concerning the three photos constitutes six pages out of the total of 29 pages of his
testimony, and out of the hundreds of pages of testimony in the record.  We conclude
that the testimony concerning the three photographs did not unduly lengthen the trial.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Finally, appellant contends that because he did not contest the ultimate issue
that the complainant had been killed by two gunshots to the back of the head, and the
State had other convincing evidence to prove what the three photographs conveyed,
the State had no need for the three photographs.  Appellant’s attorney gave a
conditional stipulation as follows: “We will stipulate that he [Eric] was killed.  And
that the person shot him in self-defense.”  As discussed earlier, the photographs were
relevant not only to show the cause of death, but also to demonstrate the manner of
the gunfire, such as the proximity of the wounds to each other and the trajectories and
paths of the bullets into Eric’s head.  The three objected-to autopsy photographs were
the only photographs that documented the internal autopsy findings of the entry
wounds, the fractures caused by the gunshots, the proximity of the wounds to each
other and to the body, and the trajectories of the bullets.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We conclude that the trial court did not abuse its discretion by admitting the
three autopsy photographs under these circumstances.  We overrule appellant’s third
point of error for each of his convictions.
&nbsp;
&nbsp;
Selective Prosecution
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant contends in his fourth point of error for each conviction that he was
selectively prosecuted for murder and conspiracy.  The heavy burden of proof is on
the defendant to establish a prima facie case of selective prosecution.  Gawlik v. State,
608 S.W.2d 671, 673 (Tex. Crim. App. [Panel Op.] 1980).  The presumption is always
that a prosecution for violation of criminal law is undertaken in good faith and in a
nondiscriminatory fashion to fulfill a duty to bring violators to justice. Id.  To support
a defense of selective or discriminatory prosecution, a defendant must make a prima
facie showing that (1) although others similarly situated have not generally been
proceeded against because of conduct of the type forming the basis of the charge
against him, he has been singled out for prosecution, and (2) the government’s
discriminatory selection of him has been invidious or in bad faith, i.e., based upon
such impermissible considerations as race, religion, or the desire to prevent his
constitutional rights.  Id.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;To preserve a complaint for appellate review, a defendant must object timely
to the trial court.  Tex. R. App. P. 33.1.  In the instant case, appellant made no effort
at trial to establish the alleged discriminatory prosecution.  See Gawlik, 608 S.W.2d
at 673.  We conclude that nothing is presented for review.  See id. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We overrule appellant’s fourth point of error for each of his convictions.
&nbsp;
Enhancement Paragraph
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his fifth point of error for each of his convictions, appellant contends that
his prior juvenile adjudication did not constitute a final felony conviction, and, thus,
could not properly be used to enhance his punishment.  The punishment enhancement
paragraph had the effect of raising the statutory possible minimum sentence from five
years to 15 years.  See Tex. Pen. Code Ann. § 12.42 (c)(1) (Vernon 2003).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant pleaded true to the enhancement paragraph, which alleged, “Before
the commission of the offense alleged above, on August 15, 1991, in cause number
73882, in the 315th District Court of Harris County, Texas, the defendant was
convicted of Capital Murder, a felony offense.”  The State introduced a judgment
from the 315th District Court, dated August 15, 1991, that ordered appellant to the
custody of the Texas Youth Commission (TYC) for a term of 15 years, until appellant
turned 17 ½ years of age, at which time he would be returned to court for a hearing
to determine whether he should be released under the supervision of the TYC or
transferred to the Texas Department of Corrections.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant asserts that the judgment admitted into evidence concerning his
enhancement paragraph establishes that the enhancement paragraph was for a juvenile
conviction for a 1991 offense, and under Sims v. State, 84 S.W.3d 768 (Tex.
App.—Dallas 2002, no pet.),


 it was invalid for enhancement purposes.  Although the
State contends that the enhancement paragraph is valid, the State asserts that
appellant’s plea of true to the enhancement paragraph is alone sufficient to show that
he had a prior felony conviction.  See Dinn v. State, 570 S.W.2d 910, 915 (Tex. Crim.
App. [Panel Op.] 1978).   We conclude that appellant’s plea of true precludes his
complaint about the insufficiency of the evidence to establish his enhancement
paragraph.  See Dinn, 570 S.W.2d at 915; Harrison v. State, 950 S.W.2d 419, 422
(Tex. App.—Houston [1st Dist.] 1997, pet. ref’d).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We overrule appellant’s fifth point of error concerning each of his convictions.Conclusion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We affirm the judgments of the trial court.
&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Elsa Alcala
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice
Panel consists of Chief Justice Radack and Justices Keyes and Alcala.

Publish.  Tex. R. App. P. 47.2(b).


